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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA


LYNETTE G. HAGANS and                                      )
KOVANA K. REESE, as co-tutrix for the minor                )
child, C. C. P., IV,                                       )
                                                           )
Plaintiffs,                                                )
                                                           )
        vs.                                                )    CASE NO.
                                                           )
SUN LIFE ASSURANCE COMPANY                                 )
OF CANADA,                                                 )
                                                           )
Defendant.                                                 )

                                        NOTICE OF REMOVAL

TO:     THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT
        OF LOUISIANA

        Comes now defendant, Sun Life Assurance Company of Canada, and respectfully notifies this

Court of the removal of the above-styled cause from the 40TH Judicial District Court, Parish of St. John the

Baptist, State of Louisiana, to the United States District Court for the Eastern District of Louisiana,

pursuant to 28 U.S.C. §1331, §1441, and 29 U.S.C. §1132, and says as follows:

                                                      I.

        This action is being removed to federal court based upon federal question jurisdiction under 28

U.S.C. §1331 and under the Employee Retirement Income Security Act of 1974, 29 U.S.C. §1001 et seq.

(hereafter "ERISA").

                                                      II.

        On or about June 29, 2018, Plaintiffs filed in the state court the above-entitled civil action, bearing

Cause No. 72453 in the records and files of that Court. Defendant was served with process via the State of

Louisiana Secretary of State on or about July 12, 2018.
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                                                    III.

       The aforesaid state court action is a suit of a wholly civil nature of which the United States District

Court for the Eastern District of Louisiana, has original jurisdiction under 28 U.S.C. §1331 and 29 U.S.C.

§1132(e)(1), and is one that may be removed by petitioner pursuant to 28 U.S.C. §1441(a).

                                                    IV.

       This Court has federal question jurisdiction over the action because Plaintiffs, as the representatives

of an alleged beneficiary in an employee welfare benefit plan, seek recovery of benefits and other relief

under said employee welfare benefit plan. The plan is controlled by ERISA:

               a.      Plaintiffs seeks death benefits under a life insurance plan
                       that was sponsored by Heico Holdings, Inc. d/b/a Ceco
                       Concrete Construction, LLC, for its eligible employees. At
                       all times relevant hereto, the employer established and/or
                       maintained an employee welfare benefit plan and plaintiffs
                       allege that the decedent was covered under said employee
                       welfare benefit plan, and, as such, was a participant under
                       said employee welfare benefit plan and plaintiffs allege that
                       the decedent’s minor child is a beneficiary under said plan;

               b.      The plan is one established or maintained by an employer as
                       defined by ERISA, 29 U.S.C. §1002(5). That section
                       defines an employer as "any person acting directly as an
                       employer, or indirectly in the interest of an employer, in
                       relation to an employee benefit plan . . . .";

               c.      The plan was established and is maintained for, among other
                       things, the purpose of providing, among other things, life
                       insurance benefits for participants and/or beneficiaries of the
                       plan;

               d.      The plan was and is therefore an employee welfare benefit
                       plan within the meaning of 29 U.S.C. §1002(1);

               e.      Plaintiffs’ claim is one for recovery of benefits and other
                       relief under said employee welfare benefit plan; and




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                f.      Pursuant to 29 U.S.C. §1132(e), the district courts of the
                        United States have original jurisdiction over actions brought
                        by participants and beneficiaries to recover benefits or other
                        relief under employee welfare benefit plans.

                                                      V.

        This action is therefore one of which the United States District Court for the Eastern District of

Louisiana, has original federal question jurisdiction under 28 U.S.C. §1331 and 1441(a), as well as 29

U.S.C. §1132, and this action may be removed to this Court by petitioner pursuant to 28 U.S.C. §1441(a).

The 40th Judicial District Court, Parish of St. John the Baptist, State of Louisiana, is within the venue of the

United States District Court for the Eastern District of Louisiana.

                                                      VI.

        This petition is being filed pursuant to 28 U.S.C. §1446 within thirty (30) days of service of the

initial pleading in which a removable claim is asserted, and is removable in that:

                a.      The time for filing this petition under 28 U.S.C. §1446 has
                        not expired;

                b.      Plaintiffs artfully crafted their pleading based wholly upon
                        state law causes of action, claims and/or theories of
                        recovery; and

                c.      In the companion cases of Metropolitan Life Insurance
                        Company v. Taylor, 481 U.S. 58 (1987), and Pilot Life
                        Insurance Co. v. Dedeaux, 481 U.S. 41 (1987), the United
                        States Supreme Court established that state law claims such
                        as those asserted by plaintiffs herein are preempted by
                        ERISA, in that ERISA, 29 U.S.C. §1132, provides the
                        plaintiffs’ exclusive cause of action and displaces entirely
                        any state cause of action, thus rendering plaintiffs’ case,
                        however pleaded, exclusively a federal question case
                        removable to this Court.




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                                                     VII.

        Therefore, defendant files this Notice of Removal of this action from the 40th Judicial District

Court, Parish of St. John the Baptist, State of Louisiana, to the United States District Court for the Eastern

District of Louisiana. There are attached to this notice, marked Exhibit "A" and incorporated by reference,

true and correct copies of all process, pleadings, and orders served upon defendant in this action.

        WHEREFORE, defendant notifies this Court of the removal of this action from the 40th Judicial

District Court, Parish of St. John the Baptist, State of Louisiana, to the United States District Court for the

Eastern District of Louisiana.


                                                Respectfully submitted,

                                                OGLETREE, DEAKINS, NASH,
                                                SMOAK & STEWART, P.C.

                                                /s/ Atoyia S. Harris
                                                Atoyia S. Harris, La. Bar No. 36012
                                                701 Poydras Street, Suite 3500
                                                New Orleans, LA 70139
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                                                Counsel for Sun Life Assurance Company
                                                of Canada




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                                      CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Filing of Removal has been served on

Plaintiff’s counsel via facsimile and Federal Express overnight delivery:

               Robert R. Faucheux, Jr.
               Christopher L. Faucheux
               Lindsay M. Faucheux
               197 Belle Terre Blvd.
               LaPlace, LA 70069
               Telephone: (985) 651-2889
               Facsimile: (985) 651-0151


       This 27th day of July, 2018.


                                                       /s/ Atoyia S. Harris


                                                                                          34978300.1




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